     Case: 1:18-cv-07761 Document #: 54 Filed: 05/14/19 Page 1 of 2 PageID #:456



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kiesque, Incorporated                           )
                                                )
v.                                              )     Case No. 18-cv-7761
                                                )
THE PARTNERSHIPS and                            )     Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A”                      )     Magistrate: Hon. Mary M. Rowland
                                                )
                                                )

                                        Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                            Store/Merchant ID
 151           PrettyLady Store                      3508007
 233           DMZ                                   A2F12LQGRY5DN5
 401           beautyourself                         54efe47e6b8a7730077f1db9
 415           cenicbeauty                           564d8a9ac0f55a1276cd96f8
 419           chicsomething                         582a82a0ae08867481e37684
 434           diyjewproject                         55e6bf60606d0a45563a8759
 437           dreamjack                             57565d33e5d9a95cd4c82c26
 438           duckyduck                             58743adb6a0f7a2295ead940
 441           easypinkshopping                      58e762b2575d8523ddc9a5e6
 442           echofairylandinternational            55644f216fe7f40eafe7424d
 490           kuakua                                57ecad09ed314f120a2dc484
 523           mymakeupsecrets                       558a7f1e8ad75440243cddb0
 540           redlight                              592544f31b8cfa4e10b3e608
 553           shenzhenxushiimportexportcoltd        556449df76cde50eb87a67ce
 559           sourcecomelimited                     55b21725fc5cd8408847c2ae
 560           spaklestar                            5742c706d75bc459506b80f1
 561           ss1002                                58085e2dc6dac53146b4b062
 598           yiwupanduotradingcoltd                53df2794ff4d6d54e4c28f31
 600           youngsing                             55e54713b7dbaf480f4a5ac1
    Case: 1:18-cv-07761 Document #: 54 Filed: 05/14/19 Page 2 of 2 PageID #:457



             深圳泽谷网络科技有限公司 /
619          Zesgood                         551103b3da563f10a4f31be3



Dated: May 13, 2019
                                      Respectfully submitted,


                                      By:     s/David Gulbransen/
                                             David Gulbransen
                                             Attorney of Record

                                             David Gulbransen (#6296646)
                                             Law Office of David Gulbransen
                                             805 Lake Street, Suite 172
                                             Oak Park, IL 60302
                                             (312) 361-0825 p.
                                             (312) 873-4377 f.
                                             david@gulbransenlaw.com




                                         2
